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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

Jonathan Langley,                           §
                                            §
      Plaintiff,                            §     NO: AU:18-CV-00443-DAE
vs.                                         §
                                            §
International Business Machines             §
Corporation,                                §
                                            §
      Defendant.

                             ORDER JURY SELECTION/TRIAL
                             AND RELATED DEADLINES
          It is hereby ORDERED that the above entitled and numbered case is set for Jury
Selection and Trial in Courtroom 5, on the Third Floor of the John H. Wood, Jr. United
States Courthouse, 655 East Cesar E. Chavez Boulevard, San Antonio, TX, on Monday,
October 19, 2020 at 09:30 AM.
        Due to this Court's heavy case load, it is the Court's practice to have a U.S.
Magistrate Judge perform jury selection on it's behalf.            Therefore, the parties are
ORDERED to file the attached Advisory to the Court no later than September 18, 2020
as to whether or not parties consent to the U.S. Magistrate Judge selecting the jury for
this trial. If parties consent, this matter will be referred to the U.S. Magistrate Judge for
the limited purpose of jury selection and the trial will proceed the next business before
the Honorable David A. Ezra, Senior U.S. District Judge.
          If requires, a Final Pretrial Conference will be set by separate order.
          Motions in limine are due Tuesday, September 29, 2020, responses to Motions
in limine are due October 06, 2020.
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Pretrial Submissions
      Pursuant to Local Rule 16(e), the Court ORDERS all parties to serve and file the
following information by the close of business Tuesday, September 22, 2020:

          (1) A list of questions the party desires the court to ask prospective jurors.
          (2) A statement of the party’s claims or defenses to be used by the court in
conducting voir dire. The statement shall be no longer than one-half page with type
double-spaced.
          (3) A list of stipulated facts.
          (4) An appropriate identification of each exhibit as specified in this rule
(except those to be used for impeachment only), separately identifying those that the
party expects to offer and those that the party may offer if the need arises.
          (5) The name and, if not previously provided, the address and telephone
number of each witness (except those to be used for impeachment only), separately
identifying those whom the party expects to present and those whom the party may call if
the need arises.
          (6) The name of those witnesses whose testimony is expected to be presented
by means of a deposition and designation by reference to page and line of the testimony
to be offered (except those to be used for impeachment only) and, if not taken
stenographically, a transcript of the pertinent portions of the deposition testimony.
          (7) Proposed jury instructions and verdict forms. The parties are ORDERED
to meet and confer and submit a joint proposed set of jury instructions. Any jury
instructions to which both parties do not agree must be submitted separately with
appropriate citations to the law supporting those instructions. Joint jury instructions
shall be submitted in complete format as they would appear when submitted to the jury.
For trials expecting to last longer than one week or complex in nature, counsel may
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submit their joint jury instructions towards the end of the trial. However, counsel must
request permission from the Court to submit this pretrial item past the deadline.
           (8) An estimate of the probable length of trial.


Objections to Pretrial Submissions
          Pursuant to Local Rule 16(f), the Court also ORDERS both parties to serve
and file the following information by close of business on Thursday, September 24,
2020:
          (1) A list disclosing any objections to the use under Rule 32(a) of deposition
testimony designated by the other party.
          (2) A list disclosing any objection, together with the grounds therefore, that
may be made to the admissibility of any exhibits. Objections not so disclosed, other than
objections under Federal Rules of Evidence 402 and 403 shall be deemed waived unless
excused by the court for good cause shown.
        IT IS SO ORDERED.
        DATED: San Antonio, Texas April 08, 2020.




                                            ______________________________
                                            DAVID A. EZRA
                                            SENIOR U.S. DISTRICT JUDGE
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                      UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TEXAS
                            AUSTIN DIVISION

Jonathan Langley                        §
                                        §
vs.                                     §     NO: AU:18-CV-00443-DAE
                                        §
International Business Machines         §
Corporation


                             ADVISORY TO THE COURT

The undersigned party in the above-captioned cause elects as follows (please only select
one of the following options):

     I consent to proceed before a United States Magistrate Judge in accordance
      with the provisions of 28 U.S.C. § 636, for the sole purpose of conducting the
      jury selection.

     I do not consent to proceed before a United States Magistrate Judge for the
      sole purpose of conducting jury selection.


Party or Party Represented        Signature of Party/ Attorney            Date

__________________________ ______________________________                 ____________

__________________________ ______________________________                 ____________

__________________________ ______________________________                 ____________
